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     WILLIAM H. BROWN, ESQ. (7623)
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 6

 7                            UNITED STATES DISTRICT COURT

 8                                       DISTRICT OF NEVADA
 9
      UNITED STATES OF AMERICA,                   Case No. 2:10-CR-00356-LDG-VCF
10

                            Plaintiff,            DEFENDANT TOREN’S MOTION FOR
11
                                                  JOINDER IN
12    vs.                                            (1) DEFENDANT NUNEZ’S
                                                         MEMORANDUM IN SUPPORT OF
13                                                       ADMITTING DOCUMENTS
14    JEANNIE SUTHERLAND,                                REGARDING CIVIL SUIT AGAINST
      JOHN J. ‘JACK’ WILLIAMS,                           MORTGAGE IT [Dkt. #239]; and
15    CARSON WINGET,                                 (2) DEFENDANT SUTHERLAND’S
      KELLY NUNES, and                                   RESPONSE TO GOVERNMENT’S
16
      MICHAEL TOREN,                                     MOTION IN LIMINE TO EXCLUDE
17                                                       EVIDENCE OF CIVIL COMPLAINT
                            Defendants.                  AGAINST MORTGAGE IT, INC.
18
                                                         [Dkt. #240].
19

20                 COMES NOW Defendant, MICHAEL TOREN, by and through his
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     attorney of record, WILLIAM H. BROWN, ESQ., and hereby respectfully moves for an
22
     order allowing Mr. Toren to join in (1) Defendant Nunez’s Memorandum In Support of
23

24   Admitting Documents Regarding Civil Suit Against Mortgage It [Dkt. #239]; and (2)

25   Defendant Sutherland’s Response to Government’s Motion In Limine to Exclude Evidence
26
     of Civil Complaint Against Mortgage It, Inc. [Dkt. #240].
27
            Mr. Toren is similarly situated to Defendants Nunez and Sutherland with respect
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     to these issues and their arguments apply equally to Mr. Toren.

            Therefore, in the interest of brevity, Mr. Toren simply seeks to join in the

     arguments of Defendants Nunez and Sutherland.
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         DATED: January 19, 2012
 1

 2       Respectfully submitted,

 3        LAW OFFICES OF WILLIAM H. BROWN, LTD.
 4
          BY: /s/ William H. Brown
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          Attorney for Defendant Mike Toren
10

11                                   ORDER
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13   IT IS SO ORDERED.

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     DATED this _____ day of January, 2012.
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                                              ______________________________________
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